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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

OPTIS WIRELESS TECHNOLOBY, LLC,               §
ET AL.                                        §
                                              §
v.                                            §         Case No. 2:17-CV-0123-JRG-RSP
                                              §
HUAWEI TECHNOLOGIES CO. LTD., ET              §
AL.                                           §

                                  Motion Hearing
                         MAG. JUDGE ROY PAYNE PRESIDING
                                  October 17, 2017
OPEN: 2:00 pm                                        ADJOURN: 3:35 pm

ATTORNEYS FOR PLAINTIFF:                          Ted Stevenson
                                                  Sam Baxter
                                                  Jennifer Truelove
                                                  Erik Fountain

ATTORNEY FOR DEFENDANTS:                          Stanley Young
                                                  Michael Smith

LAW CLERK:                                        Clint South

COURT REPORTER:                                   Shelly Holmes

COURTROOM DEPUTY:                                 Becky Andrews

Court opened. Case called. Ted Stevenson announced ready and introduced co-counsel.
Michael Smith announced ready and introduced co-counsel.

Ted Stevenson argued Plaintiffs’ Emergency Motion for Antisuit Injunction and Request for
Expedited Briefing (Dkt. No. 76). Stanley Young responded. Defendant was instructed to
update the Court of the status of any agreement reached within one week.
